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                             UNITED STATES DISTRICT COURT
                              SOUTHER DISTRICT OF ILLINOIS

DEBORAH LAUFER, Individually,            :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :               Case No.
                                         :
JP HOTELS, INC. d/b/a QUALITY INN CAIRO, :
a Foreign Corporation,                   :
                                         :
              Defendant.                 :
_______________________________________/ :
                                         :
                                         :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, JP

HOTELS, INC. d/b/a QUALITY INN CAIRO, a Foreign Corporation, (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

               individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

               the major life activity of walking more than a few steps without assistive devices.

               Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support

               and has limited use of her hands. She is unable to tightly grasp, pinch and twist of the

               wrist to operate. When ambulating beyond the comfort of her own home, Plaintiff

               must primarily rely on a wheelchair. Plaintiff requires accessible handicap parking

               spaces located closet to the entrances of a facility. The handicap and access aisles
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              must be of sufficient width so that she can embark and disembark from a ramp into

              her vehicle. Routes connecting the handicap spaces and all features, goods and

              services of a facility must be level, properly sloped, sufficiently wide and without

              cracks, holes or other hazards that can pose a danger of tipping, catching wheels or

              falling. These areas must be free of obstructions or unsecured carpeting that make

              passage either more difficult or impossible. Amenities must be sufficiently lowered

              so that Plaintiff can reach them. She has difficulty operating door knobs, sink faucets,

              or other operating mechanisms that tight grasping, twisting of the wrist or pinching.

              She is hesitant to use sinks that have unwrapped pipes, as such pose a danger of

              scraping or burning her legs. Sinks must be at the proper height so that she can put

              her legs underneath to wash her hands. She requires grab bars both behind and beside

              a commode so that she can safely transfer and she has difficulty reaching the flush

              control if it is on the wrong side. She has difficulty getting through doorways if they

              lack the proper clearance.

2.            Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

              "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

              determining whether places of public accommodation and their websites are in

              compliance with the ADA.

3.            According to the county property records, Defendant owns a place of public

              accommodation as defined by the ADA and the regulations implementing the ADA,

              28 CFR 36.201(a) and 36.104. The place of public accommodation that the

              Defendant owns is a place of lodging known as QUALITY INN CAIRO, 13201


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              Kessler Rd, IL-3 #57, Cairo, IL 62914, and is located in the County of Alexander,

              (hereinafter "Property").

4.            Venue is properly located in the SOUTHER DISTRICT OF ILLINOIS because the

              subject hotel is located in this District.

5.            Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

              original jurisdiction over actions which arise from the Defendant’s violations of Title

              III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

              U.S.C. § 2201 and § 2202.

6.            As the owner of the subject place of lodging, Defendant is required to comply with

              the ADA. As such, Defendant is required to ensure that it's place of lodging is in

              compliance with the standards applicable to places of public accommodation, as set

              forth in the regulations promulgated by the Department Of Justice. Said regulations

              are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

              Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

              by reference into the ADA. These regulations impose requirements pertaining to

              places of public accommodation, including places of lodging, to ensure that they are

              accessible to disabled individuals.

7.            More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

              requirement:

              Reservations made by places of lodging. A public accommodation that owns,
              leases (or leases to), or operates a place of lodging shall, with respect to
              reservations made by any means, including by telephone, in-person, or through a
              third party -



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                      (i) Modify its policies, practices, or procedures to ensure that individuals
                      with disabilities can make reservations for accessible guest rooms during
                      the same hours and in the same manner as individuals who do not need
                      accessible rooms;
                      (ii) Identify and describe accessible features in the hotels and guest rooms
                      offered through its reservations service in enough detail to reasonably
                      permit individuals with disabilities to assess independently whether a
                      given hotel or guest room meets his or her accessibility needs;
                      (iii) Ensure that accessible guest rooms are held for use by individuals
                      with disabilities until all other guest rooms of that type have been rented
                      and the accessible room requested is the only remaining room of that type;
                      (iv) Reserve, upon request, accessible guest rooms or specific types of
                      guest rooms and ensure that the guest rooms requested are blocked and
                      removed from all reservations systems; and
                      (v) Guarantee that the specific accessible guest room reserved through its
                      reservations service is held for the reserving customer, regardless of
                      whether a specific room is held in response to reservations made by others.

8.            These regulations became effective March 15, 2012.

9.            Defendant, either itself or by or through a third party, accepts reservation for its hotel

              through online reservations systems, or websites. These websites are located at

              hotels.com, booking.com, orbitz.com, priceline.com, agoda.com and expedia.com.

              This term also includes all other websites owned and operated by Defendant or by

              third parties to book or reserve guest accommodations at the hotel. The purpose of

              these websites is so that members of the public may reserve guest accommodations

              and review information pertaining to the goods, services, features, facilities, benefits,

              advantages, and accommodations of the Property. As such, these websites are

              subject to the requirements of 28 C.F.R. Section 36.302(e).

10.           Prior to the commencement of this lawsuit, Plaintiff visited the websites on multiple

              occasions for the purpose of reviewing and assessing the accessible features at the

              Property and ascertain whether they meet the requirements of 28 C.F.R. Section


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         36.302(e) and her accessibility needs. However, Plaintiff was unable to do so because

         Defendant failed to comply with the requirements set forth in 28 C.F.R. Section

         36.302(e). As a result, Plaintiff was deprived the same goods, services, features,

         facilities, benefits, advantages, and accommodations of the Property available to the

         general public. Specifically, expedia.com did not comply with the Regulation

         because it did not identify accessible rooms, did not allow for booking of accessible

         rooms and provided insufficient information as to whether the rooms or features at

         the hotel are accessible; hotel amenities, room types and amenities are all listed in

         detail; no information was given about accessibility in the hotel other than the

         statements "Accessible bathroom", "Wheelchair-accessible path of travel",

         "Wheelchair-accessible parking" and "In-room accessibility". Hotels.com did not

         comply with the Regulation because it did not identify accessible rooms, did not

         allow for booking of accessible rooms and provided insufficient information as to

         whether the rooms or features at the hotel are accessible; hotel amenities, room types

         and amenities are all listed in detail; no information was given about accessibility in

         the hotel other than the statements "Accessible bathroom", "Wheelchair-accessible

         path of travel", "Wheelchair-accessible parking" and "In-room accessibility".

         Booking.com did not comply with the Regulation because it did not identify

         accessible rooms, did not allow for booking of accessible rooms and provided

         insufficient information as to whether the rooms or features at the hotel are

         accessible; hotel amenities, room types and amenities are all listed in detail; no

         information was given about accessibility in the hotel. Orbitz.com did not comply


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           with the Regulation because it did not identify accessible rooms, did not allow for

           booking of accessible rooms and provided insufficient information as to whether the

           rooms or features at the hotel are accessible; hotel amenities, room types and

           amenities are all listed in detail; no information was given about accessibility in the

           hotel other than the statements "Accessible bathroom", "Wheelchair-accessible path

           of travel", "Wheelchair-accessible parking" and "In-room accessibility".

           Priceline.com did not comply with the Regulation because it did not identify

           accessible rooms, did not allow for booking of accessible rooms and provided

           insufficient information as to whether the rooms or features at the hotel are

           accessible; hotel amenities, room types and amenities are all listed in detail; no

           information was given about accessibility in the hotel other than the statements

           "Accessible rooms/facilities" and "Handicapped rooms/facilities". Agoda.com did not

           comply with the Regulation because it did not identify accessible rooms, did not

           allow for booking of accessible rooms and provided insufficient information as to

           whether the rooms or features at the hotel are accessible; hotel amenities, room types

           and amenities are all listed in detail; no information was given about accessibility in

           the hotel other than the statements "Wheelchair accessible" and "Facilities for

           disabled guests".

11.        In the near future, Plaintiff intends to revisit Defendant's websites and/or online

           reservations system in order to test them for compliance with 28 C.F.R. Section

           36.302(e) and/or to utilize the websites to reserve a guest room and otherwise




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           avail herself of the goods, services, features, facilities, benefits, advantages, and

           accommodations of the Property.

12.        Plaintiff is continuously aware that the subject websites remain non-compliant and

           that it would be a futile gesture to revisit the websites as long as those violations

           exist unless she is willing to suffer additional discrimination.

13.        The violations present at Defendant's websites infringe Plaintiff's right to travel

           free of discrimination and deprive her of the information required to make

           meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

           frustration and humiliation as the result of the discriminatory conditions present at

           Defendant's website. By continuing to operate the websites with discriminatory

           conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

           and deprives Plaintiff the full and equal enjoyment of the goods, services,

           facilities, privileges and/or accommodations available to the general public. By

           encountering the discriminatory conditions at Defendant's website, and knowing

           that it would be a futile gesture to return to the websitesunless she is willing to

           endure additional discrimination, Plaintiff is deprived of the same advantages,

           privileges, goods, services and benefits readily available to the general public. By

           maintaining a websiteswith violations, Defendant deprives Plaintiff the equality of

           opportunity offered to the general public. Defendant's online reservations system

           serves as a gateway to its hotel. Because this online reservations system

           discriminates against Plaintiff, it is thereby more difficult to book a room at the




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           hotel or make an informed decision as to whether the facilities at the hotel are

           accessible.

14.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a

           result of the Defendant’s discrimination until the Defendant is compelled to

           modify its websitesto comply with the requirements of the ADA and to

           continually monitor and ensure that the subject websitesremains in compliance.

15.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination

           from the Defendant’s non-compliance with the ADA with respect to these

           websites. Plaintiff has reasonable grounds to believe that she will continue to be

           subjected to discrimination in violation of the ADA by the Defendant.

16.        The Defendant has discriminated against the Plaintiff by denying her access to,

           and full and equal enjoyment of, the goods, services, facilities, privileges,

           advantages and/or accommodations of the subject website.

17.        The Plaintiff and all others similarly situated will continue to suffer such

           discrimination, injury and damage without the immediate relief provided by the

           ADA as requested herein.

18.        Defendant has discriminated against the Plaintiff by denying her access to full and

           equal enjoyment of the goods, services, facilities, privileges, advantages and/or

           accommodations of its place of public accommodation or commercial facility in

           violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

           Defendant continues to discriminate against the Plaintiff, and all those similarly

           situated by failing to make reasonable modifications in policies, practices or


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             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make it readily accessible and useable to the Plaintiff and all

             other persons with disabilities as defined by the ADAand 28 C.F.R. Section

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).




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    b.    Injunctive relief against the Defendant including an order to revise its websites to

          comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

          maintain the websites to ensure that it remains in compliance with said requirement.

    c.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

          § 12205.

    d.    Such other relief as the Court deems just and proper, and/or is allowable under

          Title III of the Americans with Disabilities Act.

          Respectfully Submitted,



                                        By: /s/ Kimberly A. Corkill, Esq.


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